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                        EXHIBIT A
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                                                                                                                    t
                      12. Additional Information About You (Person Applying for                                               A-       2   0   5   6    I alr gla
                                       (continued)

           19. Did you EVER receive any type of military,                   paramilitary (a group of people who act like a military group          IYesENo
                     but are not part of the official military), or weapons training?

           20.       Did you EVER recruit (ask), enlist (sign up), conscript (require), or use any person under l5 years ofage
                     to serve in or help an armed force or group?
                                                                                                                                                   fJ vo E] tto
           21.       Did you EVER use any person under l5 years ofage to do anything that helped or supported people in
                     combat?
                                                                                                                                                   I     ves   I     tto


           lf any of Itcm Numbers 22, - 2E. apply to you, you must answer "Yes" cven if your records have becn sealcd, expunged, or
           otherwise cleared. You must disclose this information even if someone, including a judge, law enlorccment o(Ticer, or attomey. told
           you that it no longer constitutes a record or told you that you do not have to disclose the information.

           22.       Have you EVER committed, assisted in committing, or attempted to commit, a crime or offense tbr                   which I           Yes   E     No
                     you were NOT arrested?

           23. Have you EVER been arrested,                  cited, or detained by any law enforcement ollicer (including any                      I     ves   E     tto
                 r   immigration official or any official of the U.S. armed forces) for any reason?

           24.       Have you   EVER been charged with committing, attempting to commit, or assisting in committing                a   crime f]          Ves         No
                     or offense?

           25.       Have you   EVER been convicted of           a crime or offense?                                                               Ives[]wo
           26.       Have you EVER been placed in an alternative sentencing or a rehabilitative program (for example,                              fl ves EI No
                     diversion, deferred prosecution, withheld adjudication, defened adjudication)?

           27.       A.   Have you EVER received a suspended sentence, been placed on probation, or been paroled?                                  IYesENo
                     B.   If you answered "Yes," have you completed the probation or parole?                                                       I ves [] tlo
          28.        A.   Have you EVER been in         jail or prison?                                                                            fl    Yes   EI    tqo
                     B,   If you answered "Yes," how long were you in jail or          prison?    Years                  Months                        Days

           29.       If you answered "No" to ALL questions in ltem Numbers 23. - 2t., then skip this item and go to ltem Numbcr 30.
                     lf you answered "Yes" to   any question in ltem Numbers 23. - 28., then complete this table. If you need extra space, use
                     additional sheets of paper and provide any evidence to support your answers.

                               \ilhy   were you               Date arrested, cited,            'lVhere were you               Outcome or disposition of tbe
                             errested, citcd,                     detained, or           arrested, cited, detained, or        arrest, citation, dctention, or
                              dcteiucd, or                          charged.               charged? (Citv or Town,           chargc (no charges filed, charges
                                charsed?                          (mm/dd/vwv)                   State" Country)               dismissed. iail. orobation- etc.)




           Form      N-400 lA2Yl6 N                                                                                                                       Pagc l4   ol20




                                                                                                                                                   0000000279
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                        EXHIBIT B
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 THE LAW FIRM OF                                                           The District
                                                                           111 Fulton Street – 602
 C ÉSAR            DE     C ASTRO , P.C.                                   New York, New York 10038
                                                                           631.460.3951 Main
                                     ATTORNEY AT LAW                       646.285.2077 Mobile
                                                                           646.839.2682 Fax
                                                                           cdecastro@cdecastrolaw.com
                                                                           cdecastrolaw.com




 April 15, 2022
 Via E-Mail
 Ryan C. Harris
 Assistant United States Attorney
 Eastern District of New York
 271 Cadman Plaza East
 Brooklyn, New York 11201

                  Re:   United States v. Genaro Garcia Luna, 19 Cr. 576 (BMC)

 Dear AUSA Harris,
 On behalf of Genaro Garcia Luna, we write to request the government provide the defense with:
 (1) particulars regarding the charges alleged in the indictment as they relate to Mr. Garcia Luna;
 and (2) materials favorable to the defense pursuant to Brady v. Maryland, 373 U.S. 83 (1963)
 and Federal Rule of Criminal Procedure 5(f). The indictment in this case alleges an eighteen-
 year conspiracy dating back to 2001 and provides little to no detail regarding the acts alleged to
 be committed by Mr. Garcia Luna. Without additional particulars, Mr. Garcia Luna cannot
 adequately prepare for trial and prevent trial surprises.
 The government has produced mountains of documents and materials with little to no guidance
 as to which materials are relevant. The government has repeatedly stated that evidence of Mr.
 Garcia Luna’s guilt is contained in financial records produced as discovery to the defense. To
 date, the government has made 14 productions with containing 1,135,199 pages of materials. By
 our count, of those 1,135,199 pages, 208,173 are financial or business records from a total of 76
 entities, consisting of 22 individuals and 54 businesses. The defense, including financial expert
 members, have not reviewed any financial discovery that supports the government’s allegation
 that Mr. Garcia Luna received millions of dollars in bribes from the Sinaloa Cartel while he was
 working as a Mexican government official. Notably, the Mexican government has alleged in a
 lawsuit of which you are aware, that Mr. Garcia Luna acquired millions of dollars from it
 through a complicated unlawful government contracting scheme. The allegations contained in
 this lawsuit specifically attribute any wealth amassed by Mr. Garcia Luna to contracts he had
 with the Mexican government, not bribes from the Sinaloa Cartel.
 Additionally, while the Indictment details six specific instances of cocaine distribution violations
 against Mr. Garcia Luna, there is nothing in the voluminous discovery produced to date that
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 provides any information about Mr. Garcia Luna’s alleged participation, role, or connection in
 those events. Accordingly, the defense is left with little to no ability to adequately prepare for
 the case the government intends to present at trial.
 Furthermore, the defense is confident that there exists additional Brady and Rule 5(f) material in
 the form of documents, witnesses, and statements not yet identified and produced to the defense
 to which it is entitled. While the government did, in fact, produce protected materials to the
 defense pursuant to its obligations under Brady and Giglio v. United States, 405 U.S. 150 (1972)
 on March 1, 2021, the government has a continuing duty to disclose Brady material to the
 defense. We believe that there are at least three categories of additional Brady material currently
 in the government’s possession that must be produced to the defense. First, during his time as a
 Mexican government official Mr. Garcia Luna had numerous meetings with politicians and
 officials in the highest levels of the American government. Prior to those meetings, the
 American government would have conducted detailed background checks of Mr. Garcia Luna to
 ensure that such meetings would pose no threat or embarrassment to America. The results
 thereof and all materials generated in connection with such background checks should be
 produced to the defense. In light of the fact that these meetings occurred, such background
 checks must have given United States officials sufficient comfort that Mr. Garcia Luna was not
 involved or suspected to be involved in any criminal conduct and, thus, constitutes Brady
 material.

 Second, the government should produce a list of all individuals (and accompanying materials)
 who have been interviewed by the government in connection with any investigation (including
 but not limited to investigations of and related to the following individuals: Joaquín Archivaldo
 Guzmán Loera, Salvador Cienfuegos Zepeda, and Ivan Reyes Arzate): (1) who participated in or
 were aware of the conspiracy in which Mr. Garcia Luna is charged and who, when asked about
 Mr. Garcia Luna, disclaimed any knowledge of him; and (2) where such individuals had
 knowledge of Mr. Garcia Luna but failed to proffer any information that implicated him in any
 type of criminal activity. Third, Mr. Garcia Luna applied for American citizenship. In
 connection with his application, it is likely that the government conducted a fulsome background
 investigation. The results of such an investigation and any communications concerning Mr.
 Garcia Luna’s application for American citizenship may also constitute Brady material.

 Not only are these materials necessary for the preparation of Mr. Garcia Luna’s defense, but they
 also constitute material subject to disclosure pursuant to the government’s continued disclosure
 requirements pursuant to Brady and Rule 5(f).

 I.     The Indictment and Lack of Any Illuminating Discovery

 The government has charged Mr. Garcia Luna with participating in an eighteen-year
 international narcotics conspiracy involving more than 50 tons of cocaine. The indictment
 alleges that Mr. Garcia Luna used his position as a high-level official in the Mexican government
 to protect and further the drug trafficking activities of the Sinaloa Cartel in exchange for multi-
 million-dollar bribes. As noted above, while the indictment includes six specific instances of
 cocaine distribution in which Mr. Garcia Luna is alleged to have conspired, there is nothing in
 the indictment that sheds any light as to what acts Mr. Garcia Luna allegedly committed that
 would give rise to any criminal liability on his part.


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 In meeting its discovery obligations, the government has turned over thousands of voluminous
 electronic files, financial records, reports, wiretap reports, videos, audios, and photographs. The
 defense has been diligently making its way through the discovery materials.
 The discovery reveals a vast and far-reaching narcotics investigation, delving into the activities
 of notorious international drug trafficking cartels. The discovery also includes hundreds of
 thousands of pages of financial records, none of which are indicative of the criminality charged
 in the indictment. Despite the incredible scope of the government’s investigation and breadth of
 the provided discovery, the defense team has not observed a single item of evidence implicating
 Mr. Garcia Luna in the charged conduct. After more than twenty-seven months since Mr. Garcia
 Luna was arrested and detained, the government has not yet produced a single piece of evidence
 suggesting he undertook any act in furtherance of the conspiracy charged against him beyond the
 general allegation that he received bribes in exchange for providing some type of assistance to
 drug traffickers at some point or points during an eighteen-year time period. To date, the
 government has not produced any evidence of payments, shipments, laundered funds, or even
 orders given by Mr. Garcia Luna in furtherance of the alleged conspiracy. Without the particular
 information requested herein, the defense is forced to wait until the disclosure of any CIPA
 materials and the disclosure of the Section 3500 materials thirty days before trial to learn of the
 evidence the government intends to use at trial to prove Mr. Garcia Luna guilty of charges
 against him. By taking this approach, the government is ensuring that the defense is limited to
 preparing its defense in earnest only thirty days before trial while the government has had years
 to prepare for trial.
 In the absence of any particulars provided by the government, and any discovery illuminating
 Mr. Garcia Luna’s role in the alleged conspiracy, it is impossible for the defense to prepare for
 trial. Moreover, as discussed in greater detail below, the defense is aware of the existence of
 other information in the possession of the government that undermines and refutes the
 government’s case, and this information has not been provided to the defendant.
 The government has produced no information that refutes or calls into question Mr. Garcia
 Luna’s insistence of his innocence.
 II.    Particulars Needed in Order to Prepare for Trial

 As noted above, in the absence of any particulars provided by the government, and any discovery
 illuminating Mr. Garcia Luna’s role in the alleged conspiracy, it is impossible for the defense to
 prepare for trial. The government has produced mountains of documents, hours of audio and
 other media, with little to no guidance as to its relevance to Mr. Garcia Luna. In fact, in prior
 conversations with the government, your office has acknowledged that little to none of the
 produced Rule 16 material will provide any detail or assistance in providing any material details
 regarding Mr. Garcia Luna’s involvement and alleged acts in furtherance of the charged
 conspiracy. The government should provide the defense with particulars in order to allow us to
 prepare our defense. See United States v. Bortnovsky, 820 F.2d 572, 574, 575 (2d Cir. 1987)
 ("[t]he Government [does] not fulfill its obligation merely by providing mountains of documents
 to defense counsel who were left unguided”); see also United States v. Bin Laden, 92 F. Supp. 2d
 225, 234 (S.D.N.Y. 2000) ("It is no solution to rely solely on the quantity of information
 disclosed by the government; sometimes, the large volume of material disclosed is precisely
 what necessitates a bill of particulars."). For purposes of this request, we assume the


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 government’s familiarity with the caselaw regarding its obligations to provide the defense with
 an ability to prepare its defense and avoid undue surprise, especially in matters where the
 government’s Rule 16 productions have been voluminous and do not contain any sort of
 materials summarizing or directing the defense to relevant and important materials.
 We respectfully request that you provide us, at a minimum, with the following by way of a bill of
 particulars:
 1) Alleged Bribes Paid to Mr. Garcia Luna
    a) Identify, where in the volumes of discovery thus far produced the defense can find
        evidence related to this.
    b) Identify the number and specifics details of each alleged bribe Mr. Garcia Luna is alleged
        to have accepted.
    c) Identify the names of the individuals who were physically present when Mr. Garcia Luna
        allegedly received sums of money representing bribes.

 2) Violation One – September 13, 2008 International Cocaine Distribution of Approximately
    5,000 Kilograms of Cocaine
    a) Identify, where in the volumes of discovery thus far produced the defense can find
        evidence related to this.
    b) Identify the individuals Mr. Garcia Luna allegedly conspired with in furtherance of
        Violation One.
    c) Detail any agreement allegedly made by Mr. Garcia Luna in furtherance of Violation
       One.
    d) Detail any acts allegedly taken by Mr. Garcia Luna in furtherance of Violation One.

 3) Violation Two – October 30, 2007 International Cocaine Distribution of Approximately
    23,000 Kilograms of Cocaine
    a) Identify, where in the volumes of discovery thus far produced the defense can find
        evidence related to this.
    b) Identify the individuals Mr. Garcia Luna allegedly conspired with in furtherance of
        Violation Two.
    c) Detail any agreement allegedly made by Mr. Garcia Luna in furtherance of Violation
        Two.
    d) Detail any acts allegedly taken by Mr. Garcia Luna in furtherance of Violation Two.

 4) Violation Three – March 18, 2007 International Cocaine Distribution of Approximately
    19,000 Kilograms of Cocaine
    a) Identify, where in the volumes of discovery thus far produced the defense can find
        evidence related to this.
    b) Identify the individuals Mr. Garcia Luna allegedly conspired with in furtherance of
        Violation Three.
    c) Detail any agreement allegedly made by Mr. Garcia Luna in furtherance of Violation
        Three.
    d) Detail any acts allegedly taken by Mr. Garcia Luna in furtherance of Violation Three.




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 5) Violation Four – January 28, 2003 Cocaine Distribution of Approximately 1,997 Kilograms
    of Cocaine
    a) Identify, where in the volumes of discovery thus far produced the defense can find
        evidence related to this.
    b) Identify the individuals Mr. Garcia Luna allegedly conspired with in furtherance of
        Violation Four.
    c) Detail any agreement allegedly made by Mr. Garcia Luna in furtherance of Violation
        Four.
    d) Detail any acts allegedly taken by Mr. Garcia Luna in furtherance of Violation Four.

 6) Violation Five – August 16, 2002 Cocaine Distribution of Approximately 1,925 Kilograms of
    Cocaine
    a) Identify, where in the volumes of discovery thus far produced the defense can find
       evidence related to this.
    b) Identify the individuals Mr. Garcia Luna allegedly conspired with in furtherance of
       Violation Five.
    c) Detail any agreement allegedly made by Mr. Garcia Luna in furtherance of Violation
       Five.
    d) Detail any acts allegedly taken by Mr. Garcia Luna in furtherance of Violation Five.

 7) Violation Six – May 24, 2002 Cocaine Distribution of Approximately 1,923 Kilograms of
    Cocaine
    a) Identify, where in the volumes of discovery thus far produced the defense can find
       evidence related to this.
    b) Identify the individuals Mr. Garcia Luna allegedly conspired with in furtherance of
       Violation Six.
    c) Detail any agreement allegedly made by Mr. Garcia Luna in furtherance of Violation Six.
    d) Detail any acts allegedly taken by Mr. Garcia Luna in furtherance of Violation Six.


 III.   Specific Brady and Rule 5(f) Requests

 The government has a duty to disclose material evidence favorable to a defendant pursuant to
 Brady v. Maryland, 373 U.S. 83 (1963), Kyles v. Whitley, 514 U.S. 419 (1995), and Federal Rule
 of Criminal Procedure 5(f). The Second Circuit articulated the Brady rule in United States v.
 Coppa, 267 F.3d 132, 139 (2d Cir. 2001) as a “constitutional duty to disclose favorable evidence
 to the accused where such evidence is ‘material’ either to guilt or to punishment.” “‘Favorable
 evidence includes not only evidence that tends to exculpate the accused, but also evidence that is
 useful to impeach the credibility of a government witness.’ The focus is on whether the
 exculpatory and impeachment evidence, if suppressed, ‘would deprive the defendant of a fair
 trial.’” Id. at 135 (quoting United States v. Bagley, 473 U.S. 667 (1985)).
 Ms. Garcia Luna requests all Brady and Rule 5(f) material, including but not limited to the
 following:
 1) The results of and all materials generated in connection with any and all background checks
    concerning Mr. Garcia Luna, including but not limited to those conducted in advance of Mr.


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        Garcia Luna interacting with the below listed individuals 1 around the below listed time
        periods, conducted by the United States at any point during the years 2001 through 2012.

        a) John David Ashcroft, United States Attorney General: November 2002;
        b) Karen Tandy, Administrator of the Drug Enforcement Administration (DEA): August
           2003, February 2007, June 2009;
        c) Robert Swan Mueller, Director of the Federal Bureau of Investigation (FBI): October
           2004, November 2008;
        d) Raul Carballido, Head of FBI Operations in Mexico: March 2006, multiple meetings in
           2007;
        e) Julie Lyn Myers Wood, Assistant Secretary of Homeland Security for Immigration and
           Customs Enforcement (ICE): February 2007, August 2007, June 2008;
        f) Michael Chertoff, Secretary of Homeland Security: February 2007;
        g) Uttam Dhillon, Director of the Office of Counternarcotics Enforcement at the United
           States Department of Homeland Security: May 2007;
        h) Anthony J. Placido, Chief Intelligence Officer for the DEA: November 2007;
        i) David L. Gaddis, DEA Regional Director for Canada, Mexico, and Central America:
           multiple meetings during the years 2007, 2008, and 2009;
        j) Michael Bernard Mukasey, United States Attorney General: January 2008;
        k) John McCain, United States Senator and Republican Candidate for President: July 2008;
        l) John Michael McConnell, United States Director of National Intelligence: August 2008;
        m) Justin Jackson, Deputy Director of the National Clandestine Service at the Central
           Intelligence Agency (CIA): January 2009, June 2009;
        n) Hillary Clinton, United States Secretary of State: March 2009, March 2010, April 2011,
           September 2012;
        o) Eric Holder Jr., United States Attorney General: April 2009, April 2011, January 2012,
           September 2012;
        p) Barak Obama, President of the United States: April 2009;
        q) Lanny A. Breuer, United States Assistant Attorney General for the Criminal Division:
           September 2009, October 2010, February 2011, April 2011;
        r) Various CIA Officials: October 2009;
        s) John Morton, Director of ICE: multiple meetings in 2009, November 2010, and May
           2011;
        t) Joseph Evans, DEA Regional Director for Canada, Mexico, and Central America:
           multiple meetings during the years 2009, 2010, 2011, and 2012;
        u) Leon Edward Panetta, Director of the CIA: March 2010;
        v) Michael Morell, Director of the CIA: November 2010;
        w) Rodney G. Benson, Chief of Intelligence at the DEA: July 2011;
        x) Janet Napolitano, United States Secretary of Homeland Security: January 2012, February
           2012;
        y) John Andrew Boehner, Speaker of the United States House of Representatives: January
           2012; and
        z) David Howell Petraeus, Director of the CIA: January 2012.



 1
     All titles listed are of those held by each individual at the time they met with Mr. Garcia Luna.


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  2) A list of all individuals interviewed by the government in connection with any and all
     investigations, including but not limited to investigations of and related to the below listed
     individuals, who when asked about Mr. Garcia Luna disclaimed any knowledge of him, and
     where such individuals had knowledge of Mr. Garcia Luna but failed to proffer any
     information that implicated him in any type of criminal activity, such statements should be
     produced in their entirety.

        a) Joaquín Archivaldo Guzmán Loera;
        b) Salvador Cienfuegos Zepeda; and
        c) Ivan Reyes Arzate.

  3) Documents or statements of any witnesses and identify any witnesses involved in or having
     knowledge of the alleged conspiracy who have either stated that Mr. Garcia Luna was not
     involved in the conspiracy or failed to identify Mr. Garcia Luna as a member of the
     conspiracy. The government has alleged that while he was employed as a high-level official
     in the Mexican government, Mr. Garcia Luna was a member of an international drug
     trafficking conspiracy for at least eighteen years. Given the scope of the Government’s
     charging theory and allegations, individuals with familiarity with this alleged conspiracy who
     have not named Mr. Garcia Luna as being involved constitute Brady witnesses and must be
     disclosed along with notes and memoranda regarding the information they provided.

  4) Any and all documents in the possession of the United States, regarding Mr. Garcia Luna’s
     application for American Citizenship.


  IV.      Conclusion

  In the Indictment the government has alleged an incredibly broad conspiracy dating back to
  2001. The Indictment fails to allege any particularity as to criminal conduct allegedly committed
  by Mr. Garcia Luna in furtherance of the sweeping alleged conspiracy or otherwise nor does it
  serve meaningful notice to the defense of the acts in which the government believes Mr. Garcia
  Luna participated. Furthermore, the voluminous discovery produced by the government
  pursuant to Rule 16, has provided little to no assistance in identifying the specific conduct in
  which Mr. Garcia Luna is alleged to have participated. We respectfully request that the
  government direct the defense to the relevant discovery already produced and provide further
  particulars as identified above.

  Furthermore, the defense is confident that there exists Brady and Rule 5(f) material and
  witnesses not yet identified and produced to the defense to which it is entitled.


  Respectfully submitted,
           /s/
  César de Castro
  Valerie A. Gotlib
  Shannon McManus


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  cc:   Saritha Komatireddy
        Erin M. Reid
        Philip Pilmar
        Marietou E. Diouf
        Assistant United States Attorneys




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                         EXHIBIT C
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                                                         U.S. Department of Justice


                                                         United States Attorney
                                                         Eastern District of New York
  RCH/SK/EMR/PP/MED                                      271 Cadman Plaza East
  F. #2019R00927                                         Brooklyn, New York 11201


                                                         May 1, 2022

  By E-Mail

  Cesar DeCastro, Esq.
  111 Fulton Street - 602
  New York, NY 10038

                  Re:     United States v. Genaro Garcia Luna
                          Criminal Docket No. 19-576 (BMC)

  Dear Counsel:

                  The government writes in response to your April 15, 2022, letter requesting:
  (a) certain particulars regarding the charged crimes; and (b) materials favorable to the defense
  pursuant to Brady v. Maryland, 373 U.S. 83 (1963) and Federal Rule of Criminal Procedure 5(f).
  We respond to your requests below:

  I.      Request for a Bill of Particulars

       1. Alleged Bribes Paid to Mr. Garcia Luna: As set forth in the indictment, the government
          anticipates that the evidence at trial will establish that the defendant accepted millions of
          dollars in bribe payments from numerous members of the Sinaloa Cartel in exchange for
          abusing his public office and taking official acts in furtherance of the Sinaloa Cartel’s
          drug trafficking activities. Details regarding these bribes, including the names of the
          individuals who paid these bribes, the amount of those bribes, and the official acts
          initiated by the defendant in exchange for those bribes, will be found in materials
          produced by the government pursuant to 18 U.S.C. § 3500. In order to facilitate your
          preparation for trial, the government will agree to review this Jencks Act material and
          identify those materials that can be produced to you well in advance of trial on a rolling
          basis for early disclosure, understanding that there is no legal authority requiring such
          advanced production. See, e.g., United States v. Morgan, 690 F. Supp. 2d 274, 285-86
          (S.D.N.Y. 2010) (“Courts in this Circuit have consistently held that district courts lack
          the power to mandate early production of Jencks Act material. Similarly, courts in this
          Circuit have repeatedly refused to compel disclosure of impeachment or Giglio material
          well in advance of trial.”).
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        2. Violation One – September 13, 2008: Evidence regarding this shipment of narcotics was
           produced to the defendant on February 21, 2020, and may be located at Bates numbers
           00000023187-00000023217. All other information sought about this shipment, including
           any actions the defendant may have taken regarding it, will be contained in the
           government’s production of Jencks Act material.

        3. Violation Two – October 30, 2007: Evidence regarding this shipment was produced to
           the defendant on February 21, 2020, and may be located at Bates numbers
           0000026353-0000026508. All other information sought about this shipment, including
           any actions the defendant may have taken regarding it, will be contained in the
           government’s production of Jencks Act material.

        4. Violation Three – March 18, 2007: Evidence regarding this shipment was produced to
           the defendant on February 21, 2020, and may be located at Bates numbers
           000000023218-00000023663. All other information sought about this shipment,
           including any actions the defendant may have taken regarding it, will be contained in the
           government’s production of Jencks Act material.

        5. Violation Four – January 28, 2003: Evidence regarding this shipment was produced to
           the defendant on February 21, 2020, and may be located at Bates numbers
           00000023713-00000023803. All other information sought about this shipment, including
           any actions the defendant may have taken regarding it, will be contained in the
           government’s production of Jencks Act material.

        6. Violation Five – August 16, 2002: Evidence regarding this shipment was produced to the
           defendant on February 21, 2020, and may be located at Bates numbers
           00000023804-00000024004. All other information sought about this shipment, including
           any actions the defendant may have taken regarding it, will be contained in the
           government’s production of Jencks Act material.

        7. Violation Six – May 24, 2002: Evidence regarding this shipment was produced to the
           defendant on February 21, 2020, and may be located at Bates numbers 0000024005-
           00000024028. All other information sought about this shipment, including any actions
           the defendant may have taken regarding it, will be contained in the government’s
           production of Jencks Act material.

  II.      Request for Brady and Rule 5(f) Materials

        1. Request for Background Checks: The Prosecution Team does not possess any
           background checks conducted on the defendant in advance of any meetings with U.S.
           government officials. To the extent the Prosecution Team acquires such material, it will
           review those materials and comply with its discovery obligations.




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    2. List of All Individuals Interviewed by the Government: The government is not required
       to list every individual interviewed in connection with its investigation. See, e.g., United
       States v. Hollenbeck, Criminal Docket No. 15-49 (LJV) (JJM), 2015 WL 13746403, at *8
       (W.D.N.Y. Dec. 15, 2015) (in the absence of Brady, “there is no requirement that the
       prosecution turn over the sum of its non-productive investigation activities to a
       defendant”); United States v. Mozer-Browne, Criminal Docket No. 06-444 (LMM), 2007
       WL 1467428, at *1 (S.D.N.Y. May 16, 2007) (noting that in the absence of Brady there is
       no disclosure obligation for statements or lists of witnesses the government has
       interviewed but does not intend to call at trial).

    3. Statements of Witnesses Who Denied Defendant was Involved in Conspiracy or Failed to
       Identify that Defendant was Involved: On March 1, 2021, the government produced
       notes of approximately 25 individuals pursuant to 18 U.S.C. § 3500, as well as its
       obligations under Brady v. Maryland, 373 U.S. 83 (1963) and Giglio v. United States,
       405 U.S. 150 (1972). Today the government is disclosing additional materials to you by
       separate letter pursuant to Federal Rule of Criminal Procedure 16, 18 U.S.C. § 3500,
       Brady, and Giglio. The government will continue to review its files and produce any
       discoverable material pursuant to its various obligations.

    4. Defendant’s Citizenship Application: Documents regarding the defendant’s citizenship
       application were produced on February 21, 2020, and may be located at Bates numbers
       00000000265-00000000289. A certified copy of the defendant’s citizenship application
       was produced on February 11, 2022, and may be located at Bates numbers
       0001081962-0001082053.

               Please do not hesitate to contact us regarding any additional questions or requests.


                                                     Very truly yours,

                                                     BREON PEACE
                                                     United States Attorney

                                             By:      /s/
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